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AO 93 (Rev. 12/09) Searclz and Set'zure Warranl (Page 2)

 

Retum

 

Case No..‘ Date and time warrant executed.' Copy of warrant and inventory left with:

sgia~MJ-ootss ‘/-/é ~/S’

 

 

 

Inventory made in the presence of .'

 

Inventory of the property taken and name of any person(s) seized:

[Please provide a description that would be suti`icient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g‘, type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). lf reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

ltem No. 1~6276865 SGOGB Seagate Laptop Thin HDD model STSOOLTOIZ serial~numl)er S3PY061F:
The analysis conducted on the forensic evidence copy of the drive contained two operating systems (OS),
namely Microsol`t Windows 10 and Ubuntu Studio operating systems Each operating system had one user
created account The user data area for both operating systems contained pictures and documents with the
Pll of several different individuals including names, addresses, driver license numbers, social security
numbers, date of birth and bank account numbers A program named “VersaChecl< DNA Secure Xl Presto"
was installed on the Windows operating system. The program contained check numbers issued in the name
of different business entities and payments in the names of unknown persons In addition, graphic editors
such as GIMP and Photoshop Were installed and used on both operating systems These programs were
used to edit a one~hundred“dollar bill and templates for U.S. social security card and state driver license for

California.

Item No. 2-6276865 lTB Seagate Barracuda 7200.12 model STBIOOOSZSAS serial~number 9VP2HCDF:
Not examined

Item No. 3-6276865 ITB Seagate Barracuda 7200.12 model ST31000528AS serial-number 9VP2H4Q9:
Not examined

 

Certt°fication b officer resent durin the execution of the warrant)

 

1 declare under penalty ofperjury that 1 am an officer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Ojt`ce.

Daze.- 06/28/2018 '. //Z /%~\

Execun‘ng ojlcer 's signature

Albert Rabadi, Soecial Agent
Priuled name and title

 

 

 

AUSA: Benjamln Welr

 

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UNITED STATES DISTRICT CoURT
l`or the
Central Distl'ict OFCalit`ornia

in the 1\lattc1 ot thc S'eatclt ot
(l)‘t'iq/I_t‘ describe i/i¢l /11'1)/)¢’/ ry lo I)c searched
or iciei)ll[t~ l/ic permit llt' non/v 11111!11</<//'¢$.\')
Digitai devices seized on Februery 15, 2018 by the
San Bernardino Sheriff’s Department and currently
maintained in the custody of Horneiand Security
investigations in San Bernardino, Caiifornia

SEARCI~I AND SEIZURE WARRANT

Case No. 5:18-MJ-00133

To: Any authorized law enforcement officer

An application by a l`edet‘al law enforcement ot`ticer or an attorney l"or the government requests the search

 

ot` the following person or property located in thc Centrai District ot` Caiifornia
(ir/e)tiiji' 1/10/)€1'."1))1 or t/e.r<~)‘i`l)t' I/lu properly m lie .rwn'i'/iut/ unt/ give its loccirio/i):
See Attachrnent A

'i`lte person or property to be searchcd, described above, is believed to conceal (i¢/t»mifv me person ur describe 1111~
/)1'11/)0)'1,\' lt) lie .1'01`:01/)!

See Attachment B

l lind that the ai`lidavit(s), or any recorded testintony, establish probable cause to search and seize the person or
property Such al'l`tdavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE C()MMANDED to execute this warrant on or bcl`orc 14 days from the date of its issuance

(m)l lo u.\'cuet/ /4 1/¢1_1'.1')

il in the daytime 6:00 a.tn. to lO p.m. Cl at any time in the day or night as l find reasonable gauge has been
established

Unless delayed notice is authotized below you must give a copy ot the wanant and a teceipt for the property
taken to the person l`rom whom, or liom whose prentises, the propeity was taken, or leave the copy and receipt at the
place where the property was taken.
The oi`l`icer executing this warrant. or an ol'licer present during the execution of the \\'an‘ant, must prepare an
inventory as required by law and promptly return this warrant and'inventory to United States l\/iagistrate Judge
on duty at the time of the return through a filing with the Cterk's Oft"ice.
1111/mci

Cl l lind that immediate notification may have an ad\'eise result listed 111 18 U S. C.§ `2705 (e\'cept l`ot delay
ot`tria|), and authorize the ol`iiccr executing this warrant to delay notice to the person who, or whose propetty,\ will bc
ij lbl` ________ days (lml ll) e.\‘¢‘c'c'(/ 3()).

Cl until the i`acts iustityi\ v the later specihc date of

191er ';170()}(/111/ de ll/fl/l/l/M

Settt‘Clt€Cl Ol' SElZC(l (t'/ii,'c'lt the ¢//)/))'i)/))'i¢tlt'/)1),\‘)
tl

City and statc; Riverside, Ca|ifornia

 

Date and time issued:
judge \‘ 3111/imm c

Honorab|e Keniy Kiya Kato, U.S. Magistrate Judge

P)'i/uec/ name and 11'110

AUSA: Benjamin Weir

 

